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                                                                 Mayer Engelsberg
                                                      <mengelsberg@nklawllp.com>


         The New Yorker
                                                                    Fri, Dec 10, 2021 at
         Mayer Engelsberg <mengelsberg@nklawllp.com>
                                                                              10:00 AM
         To: "Bertoni, Fabio" <fabio_bertoni@newyorker.com>

           Hello Fabio,
           Thank you for your email, well wishes, and attached letter.
           The Fourth Circuit has adopted the following three-part balancing test:
           “(1) [W]hether the information is relevant, (2) whether the information can
           be obtained by alternative means, and (3) whether there is a compelling
           interest in the information.” LaRouche v. Nat'l Broad. Co., 780 F.2d 1134,
           1139 (4th Cir. 1986). Our position is that the requested recordings are
           unavailable by any alternative means and their absence, in light of the
           unique circumstances of this case, will severely prejudice Individual
           Defendants’ ability to effectively cross-examine the witnesses and assess
           their credibility.
           Under the Local Rules we are required to meet and confer prior to filing a
           motion to compel.
           Are you available for a call today or early next week?
           Thanks,
           Mayer
           [Quoted text hidden]




1 of 1                                                                        12/17/2021, 3:41 PM
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                                                               Mayer Engelsberg
                                                    <mengelsberg@nklawllp.com>


         The New Yorker
         Bowman, Chad R.                                        Fri, Dec 10, 2021 at
         <BowmanChad@ballardspahr.com>                                      4:46 PM
         To: "mengelsberg@nklawllp.com" <mengelsberg@nklawllp.com>
         Cc: "Bertoni, Fabio" <fabio_bertoni@newyorker.com>, "Slaughter, Joseph"
         <Slaughterj@ballardspahr.com>


           Mayer,



           This firm has been engaged to represent The New Yorker in this matter.
           Please direct future communications to me.



           I would be happy to set up a call next week to discuss. Would Tuesday
           at either 10 a.m. or 4 p.m. work for you?



           Thanks, and have a good weekend.



           Chad




           Chad R. Bowman
           (he/him/his)
           2021 Pro Bono Honor Roll – Silver




1 of 2                                                                      12/17/2021, 3:40 PM
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           1909 K Street, NW, 12th Floor
           Washington, DC 20006-1157

           202.508.1120 ������
           202.661.2299 ���


           bowmanchad@ballardspahr.com
           �����




           www.ballardspahr.com




           ---------- Forwarded message ---------
           From: Mayer Engelsberg <mengelsberg@nklawllp.com>
           Date: Fri, Dec 10, 2021 at 10:01 AM
           Subject: Re: The New Yorker
           To: Bertoni, Fabio <fabio_bertoni@newyorker.com>

           [Quoted text hidden]
           [Quoted text hidden]




2 of 2                                                                 12/17/2021, 3:40 PM
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                                                                  Mayer Engelsberg
                                                       <mengelsberg@nklawllp.com>


         The New Yorker
                                                                Fri, Dec 17, 2021 at
         Mayer Engelsberg <mengelsberg@nklawllp.com>
                                                                          10:47 AM
         To: "Bowman, Chad R." <BowmanChad@ballardspahr.com>
         Cc: "Slaughter, Joseph" <Slaughterj@ballardspahr.com>, Avi Kamionski
         <akamionski@nklawllp.com>, Shneur Nathan <snathan@nklawllp.com>

           Hello Chad,
           I hope you are well.
           During our call on Wednesday morning, you indicated that you would
           revisit the issue of a privilege log with the New Yorker and would follow
           up with us within the next day or so.
           Will the New Yorker produce a privilege log?
           Thanks,
           Mayer
           [Quoted text hidden]




1 of 1                                                                         12/17/2021, 3:39 PM
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                                                               Mayer Engelsberg
                                                    <mengelsberg@nklawllp.com>


         The New Yorker
                                                                 Fri, Dec 17, 2021 at
         Bowman, Chad R. <BowmanChad@ballardspahr.com>
                                                                             2:48 PM
         To: Mayer Engelsberg <mengelsberg@nklawllp.com>
         Cc: "Slaughter, Joseph" <Slaughterj@ballardspahr.com>, Avi Kamionski
         <akamionski@nklawllp.com>, Shneur Nathan <snathan@nklawllp.com>


           Mayer,



           The New Yorker will stand on its objec�ons.



           Have a good weekend.

           [Quoted text hidden]




1 of 1                                                                      12/17/2021, 3:39 PM
